527 F.2d 444
    UNITED STATES of America, Appellee,v.Becky Lee PITTMAN, Appellant.
    Nos. 75--1395 and 75--1396.
    United States Court of Appeals,Fourth Circuit.
    Argued Sept. 11, 1975.Decided Nov. 6, 1975.Certiorari Denied Feb. 23, 1976.See 96 S.Ct. 1132.
    
      Gerard P. Rowe, Norfolk, Va.  (Williams, Worrell, Kelly &amp; Greer, Norfolk, Va., on brief), for appellant.
      Michael A. Rhine, Asst. U.S. Atty.  (William B. Cummings, U.S. Atty., and Hunter W. Sims, Asst. U.S. Atty., on brief), for appellee.
      Before WINTER, RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    
      1
      We see no merit in this appeal.  Defendant was convicted of misprision of felony because of her untruthful statement intended to conceal her husband's participation in a bank robbery.  Before she gave her statement she was given the standard Miranda warnings, including advice that she had a right to remain silent.  Thus, we conclude that defendant's right not to incriminate herself was not violated by the prosecution.  We express no view as to whether she could have been prosecuted successfully had she exercised her right not to incriminate herself.
    
    
      2
      We think that the evidence was sufficient to sustain the conviction of misprision of felony.  The evidence was sufficient also to support the conviction of receipt of stolen property and the issue of defendant's guilt or innocence on this charge was submitted to the jury under proper instructions.  To the extent relevant, the proof was sufficient to show that the bank that was robbed was insured by the Federal Deposit Insurance Corporation.
    
    
      3
      Affirmed.
    
    